      Case 2:19-cv-00442-MHT-SRW Document 15 Filed 11/27/19 Page 1 of 12



  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


ANTHONY KUMI and DANIEL                )
AHIABAR,                               )
                                       )
        Plaintiffs,                    )
                                       )          CIVIL ACTION NO.
        v.                             )            2:19cv442-MHT
                                       )                 (WO)
COSTCO WHOLESALE                       )
CORPORATION,                           )
                                       )
        Defendant.                     )

                            OPINION AND ORDER

       Plaintiffs       brought      this   lawsuit       in    state    court

against        defendant         Costco      Wholesale          Corporation,

bringing       claims     of     defamation,        false      imprisonment,

negligence,           negligent           hiring,         training,        and

supervision, invasion of privacy, and tort of outrage,

all     stemming     from      an    incident   in     which      they    were

publicly       accused      of      shoplifting      by     the    defendant

store’s employees, pushed into a corner, and detained

in front of other shoppers for about 10-15 minutes.

Defendant removed this lawsuit to this court based on

diversity-of-citizenship              jurisdiction.         See   28    U.S.C.
      Case 2:19-cv-00442-MHT-SRW Document 15 Filed 11/27/19 Page 2 of 12



§§ 1332 and 1441.             Now pending before the court is

plaintiffs’ motion to remand this lawsuit back to state

court.        For the reasons explained below, the motion

will be granted.



                                      A.

       “[R]emoval      from   state    court     is   proper     if   it   is

facially apparent from the complaint that the amount in

controversy        exceeds    the     jurisdictional        requirement.”

Williams v. Best Buy Co., 269 F.3d 1316, 1319 (11th

Cir. 2001); see also Pretka v. Kolter City Plaza II,

Inc., 608 F.3d 744, 754 (11th Cir. 2010) (same).                        When

the     jurisdictional        amount       is   not   clear      from      the

complaint, the court should consider the allegations of

the notice of removal.              See id.      “[W]hen a defendant

seeks       federal-court       adjudication,         the      defendant's

amount-in-controversy           allegation       should     be    accepted

when not contested by the plaintiff or questioned by




                                      2
   Case 2:19-cv-00442-MHT-SRW Document 15 Filed 11/27/19 Page 3 of 12



the court.”        Dart Cherokee Basin Operating Co., LLC v.

Owens, 574 U.S. 81, 87 (2014).

       If    the      plaintiff          contests      the       defendant’s

allegation,        “the    removing      defendant     must      prove     by    a

preponderance         of    the    evidence     that       the    amount        in

controversy        exceeds       the   jurisdictional         requirement.”

Williams, 269 F.3d at 1319.                 In determining the amount

in controversy, the court may rely on its “judicial

experience and common sense.”                 Roe v. Michelin N. Am.,

Inc., 613 F.3d 1058, 1064 (11th Cir. 2010).                           If the

case is a close one, doubts about the existence of

“jurisdiction should be resolved in favor of remand to

state court.”         Univ. of S. Ala. v. Am. Tobacco Co., 168

F.3d    405,   411     (11th      Cir.     1999);    see     also   City        of

Vestavia Hills v. Gen. Fid. Ins. Co., 676 F.3d 1310,

1313 (11th Cir. 2012) (same).

       “To   ensure       that    diversity    jurisdiction         does    not

flood the federal courts with minor disputes, § 1332(a)

requires that the matter in controversy in a diversity


                                       3
      Case 2:19-cv-00442-MHT-SRW Document 15 Filed 11/27/19 Page 4 of 12



case     exceed     a    specified       amount,     currently      $75,000.”

Exxon Mobil Corp. v. Allapattah Servs., Inc., 545 U.S.

546,      552    (2005).            In   determining       the    amount    in

controversy,         the      court      considers      each      plaintiff’s

claims separately.             See Leonard v. Enter. Rent a Car,

279 F.3d 967, 974 (11th Cir. 2002) (citing Zahn v.

International Paper Co., 414 U.S. 291, 295 (1973)) (“We

do    not    aggregate        the    value     of   multiple      plaintiffs'

claims to satisfy the amount in controversy requirement

simply because they are joined in a single lawsuit, ...

[and] only aggregate claims ‘when several plaintiffs

unite to enforce a single title or right, in which they

have a common and undivided interest.’”).                        In contrast,

the     court      may     aggregate         each   plaintiff’s      multiple

claims,      except      to    the       extent     they   state     mutually

exclusive “alternative bases of recovery for the same

harm,”      such    as     negligence        and    wantonness.     Jones   v.

Bradford, No. CV 17-0155-WS-N, 2017 WL 2376573, at *2

(S.D. Ala. June 1, 2017) (Steele, J.).


                                         4
   Case 2:19-cv-00442-MHT-SRW Document 15 Filed 11/27/19 Page 5 of 12



                                          B.

       The court has reviewed the complaint with these

precepts       in    mind       and,   relying     on     its     own   judicial

experience      and        common      sense,    finds     it     not   facially

apparent       from        the     complaint       that     the     amount    in

controversy is more than $ 75,000 for either plaintiff.

       While        the     plaintiffs         frame      their     claims    as

comprising a number of different torts, and seek both

compensatory          and       punitive       damages    for     humiliation,

embarrassment,            physical     discomfort        and    inconvenience,

invasion of privacy, reputation damages, mental anguish

and emotional distress, the essence of their claims is

that each was detained in the public part of a store

for 10-15 minutes on suspicion of shoplifting, and they

were    subjected          to    verbal    insults.        The     episode   was

quite brief.              Neither was arrested or charged by the

police, and although they state they were “pushed” into

a corner, there is no claim that they were physically

harmed.    Complaint (doc. no. 1-1) at 2 ¶ 9.                       Plaintiffs


                                           5
      Case 2:19-cv-00442-MHT-SRW Document 15 Filed 11/27/19 Page 6 of 12



do not allege that they suffered any financial harm,

or,     for   example,      that    their       careers    suffered    as    a

result of this event.

       Nor    does   the    notice     of   removal       establish    by   a

preponderance        of     the    evidence       that    the    amount     in

controversy is more than $ 75,000 for either plaintiff.

The notice relies primarily on the allegations of the

complaint to establish the amount in controversy, which

for the reasons stated above, leaves the court quite

uncertain as to the amount in controversy.                         Defendant

has not provided “affidavits, declarations, or other

documentation”         in    support       of    federal    jurisdiction.

Pretka v. Kolter City Plaza II, Inc., 608 F.3d 744, 755

(11th Cir. 2010).             Moreover, defendant has withdrawn

its request for jurisdictional discovery.                       See Response

to Motion to Remand (doc. no. 11) at 9 n.3.

       The notice of removal does reference several jury

verdicts over $ 75,000 in cases defendant contends are

“similar” to the instant one.                   Notice of Removal (doc.


                                       6
      Case 2:19-cv-00442-MHT-SRW Document 15 Filed 11/27/19 Page 7 of 12



no.     1)   at   6.        Assuming       such    references      constitute

evidence, the court lacks sufficient information about

the     cited     cases--and        the    current      case--to    draw    any

reasonable conclusions about the case before the court.

See Lowery v. Alabama Power Co., 483 F.3d 1184, 1221

(11th     Cir.    2007)       (finding        defendant’s     references     to

recent jury verdicts in support of removal “in no way

clarifies”        the       value    of       claims    before    the    court,

because      “with      a   record    bereft       of   detail”    the    court

could not “possibly ascertain how similar the current

action is to those the defendants cite”).                        In addition,

each of the cited cases is distinctly different from

the case at bar: in one, the plaintiff was physically

assaulted and imprisoned in the defendant’s home; in

another,        the     plaintiff         was     actually    arrested      and

charged      by   police;      in    the       third,   the   plaintiff     was

accidentally locked for over two months in a storage

facility; and in the last, plaintiff brought claims for

assault and battery in addition to false imprisonment.


                                          7
   Case 2:19-cv-00442-MHT-SRW Document 15 Filed 11/27/19 Page 8 of 12



All told, the court has before it little evidence from

which it can determine the amount in controversy, and

what little it does have leaves it with great doubt.

       Defendant      argues       that,      “because          Plaintiffs

specifically seek unspecified damages in excess of the

state       court’s         jurisdictional            limits,      removal

[jurisdiction] is facially apparent.”                    Response Brief

(doc.    no.   11)    at    4.     The   court    disagrees.          As   an

initial matter, the jurisdictional limit for Alabama

circuit courts is $ 20,000--a far cry from $ 75,000.

See 1975 Ala. Code § 12-11-30.                   As support for its

argument, defendant cites Jones v. Hartford Fire Ins.

Co.,    a   district       court   decision      in    which    the   judge

opined that “the moment a state court plaintiff seeks

unspecified damages of various kinds, such as punitive

damages, or emotional distress, or attorneys’ fees, the

claim automatically is deemed to exceed $ 75,000 and

becomes removable under 28 U.S.C. § 1332.”                      No. CIV.A.

12-AR-2879-S, 2013 WL 550419, at *1 (N.D. Ala. Feb. 7,


                                     8
      Case 2:19-cv-00442-MHT-SRW Document 15 Filed 11/27/19 Page 9 of 12



2013) (Acker, J.).            Defendant also cites Smith v. State

Farm Fire & Cas. Co., which the Jones opinion relied on

for its creation of a novel requirement that, to win a

motion to remand, plaintiffs “who want to pursue claims

against       diverse     parties      in    a     state    court    seeking

unspecified damages of various kinds, such as punitive

damages and emotional distress, must in their complaint

formally and expressly disclaim any entitlement to more

than      $    74,999.99,       and        categorically       state      that

plaintiff will never accept more.”                     868 F. Supp. 2d

1333, 1335 (N.D. Ala. 2012) (Acker, J.).                     The          court

declines      to    follow     Jones    or    Smith,       which    are    “not

binding       or   persuasive     authority,”         and    impermissibly

shift the burden to the non-removing party to establish

jurisdiction.           Bennett v. Williams, No. 7:17-CV-00602-

LSC, 2017 WL 3781187, at *2 (N.D. Ala. Aug. 31, 2017)

(Coogler, J.) (explaining that Smith improperly shifts

the     burden     to   the   plaintiff      and    thereby    contravenes

Supreme Court and Eleventh Circuit case law); see also


                                       9
     Case 2:19-cv-00442-MHT-SRW Document 15 Filed 11/27/19 Page 10 of 12



Dunlap v. Cockrell, 336 F. Supp. 3d 1364, 1368 (S.D.

Ala. 2018) (Steele, J.) (calling Smith a “distinctly

minority view in this Circuit” and declining to follow

it    because      “[i]t     is     well-settled          that     a     removing

defendant      bears       the    burden      of   proving         jurisdiction

(including amount in controversy) by a preponderance of

the evidence when the court questions the defendant's

allegation      about      amount      in    controversy”         and    “that    a

plaintiff's        refusal        to        stipulate        to     amount       in

controversy (or its denial of requests for admission as

to    amount     in    controversy),          without      more,        does    not

satisfy that burden because there are several reasons

why a plaintiff would not so stipulate”).

       In   sum,      defendant     has      failed     to    prove       by    the

preponderance         of    the    evidence        that      the       amount    in

controversy is met.               The court is left with a great

deal of uncertainty as to the amount in controversy,

and accordingly resolves its doubts in favor of remand.




                                       10
     Case 2:19-cv-00442-MHT-SRW Document 15 Filed 11/27/19 Page 11 of 12



       One final matter bears mentioning.                 In the motion

to    remand,        plaintiffs    move    the    court     to   sanction

defendant under Rule 11 of the Federal Rules of Civil

Procedure       by     awarding    costs    and     attorneys’      fees.*

Plaintiffs       failed    to     file    the    separate    motion    for

sanctions required by Federal Rule of Civil Procedure

11(c)(2), so their request will be denied.                        In any

case, as the court sees no evidence of bad faith and

does not find defendant’s filings frivolous, sanctions

are unwarranted.          See Purchasing Power, LLC v. Bluestem

Brands, Inc., 851 F.3d 1218, 1223-25 (11th Cir. 2017).




    * Their request is based on dicta in a footnote in
Lowery v. Alabama Power Co., 483 F.3d 1184, 1213 n.63
(11th Cir. 2007) (“We think it highly questionable
whether a defendant could ever file a notice of removal
on diversity grounds in a case such as the one before
us--where the defendant, the party with the burden of
proof, has only bare pleadings containing unspecified
damages on which to base its notice--without seriously
testing the limits of compliance with Rule 11.”).
                           11
  Case 2:19-cv-00442-MHT-SRW Document 15 Filed 11/27/19 Page 12 of 12



                                 ***

    Accordingly, it is the ORDER, JUDGMENT, and DECREE

of the court that:

    (1) Plaintiffs’ motion to remand (doc. no. 5) is

granted.

    (2)    Plaintiffs’     motion    for   sanctions,      attorneys’

fees, and costs (doc. no. 5) is denied.

    (3) Pursuant to 28 U.S.C. § 1447(c), this cause is

remanded   to   the    Circuit   Court     of   Montgomery     County,

Alabama, for want of subject-matter jurisdiction.

    The    clerk      of   the   court     is   DIRECTED     to    take

appropriate steps to effect the remand.

    DONE, this the 27th day of November, 2019.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
